  Case 16-35617      Doc 35   Filed 01/04/18 Entered 01/04/18 13:25:23            Desc Main
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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                     Eastern Division

In Re:                                     )              BK No.:     16-35617
Marlene Abraham                            )
                                           )              Chapter: 13
                                           )
                                                          Honorable Donald R. Cassling
                                           )
                                           )
              Debtor(s)                    )

  ORDER MODIFYING THE AUTOMATIC STAY AND WITHDRAWING REQUEST FOR
                            DISMISSAL

       THIS CAUSE coming to be heard on the motion of WELLS FARGO BANK, N.A., AS
TRUSTEE for IMPAC SECURED ASSETS CORP., MORTGAGE PASS-THROUGH
CERTIFICATES, SERIES 2005-2, a secured creditor herein, for relief from the automatic stay, the
Court having jurisdiction over the subject matter and due notice having been given:

 WHEREFORE, IT IS HEREBY ORDERED:
(1) Pursuant to 11 U.S.C. Section 362(d), that WELLS FARGO BANK, N.A., AS TRUSTEE for
IMPAC SECURED ASSETS CORP., MORTGAGE PASS-THROUGH CERTIFICATES, SERIES
2005-2 its principals, agents, successors and/or assigns is granted relief from the automatic stay
provisions of 11 U.S.C. Section 362(a) by modifying said stay to permit them to pursue all non
bankruptcy remedies and work out options as to the property commonly known as 3816 W. Howard St,
Skokie, Illinois 60076.

(2) WELLS FARGO BANK, N.A., AS TRUSTEE for IMPAC SECURED ASSETS CORP.,
MORTGAGE PASS-THROUGH CERTIFICATES, SERIES 2005-2's request for dismissal is
withdrawn.

(3) No further payments are to be disbursed to WELLS FARGO BANK, N.A., AS TRUSTEE for
IMPAC SECURED ASSETS CORP., MORTGAGE PASS-THROUGH CERTIFICATES, SERIES
2005-2 on its secured claim.

(4) Rule 4001(a)(3) is waived and WELLS FARGO BANK, N.A., AS TRUSTEE for IMPAC
SECURED ASSETS CORP., MORTGAGE PASS-THROUGH CERTIFICATES, SERIES 2005-2 may
immediately enforce and implement this order granting relief from the automatic stay.

                                                       Enter:


                                                                Honorable Donald R. Cassling
Dated: January 04, 2018                                         United States Bankruptcy Judge

 Prepared by:
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